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18 Attorneys for Plaintiffs
19                              UNITED STATES DISTRICT COURT

20                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

21 U.S. WECHAT USERS ALLIANCE,                     Case No. 3:20-cv-05910-LB
     CHIHUO INC., BRENT COULTER,
22   FANGYI DUAN, JINNENG BAO, ELAINE              [REDACTED] DECLARATION OF VAN
     PENG, and XIAO ZHANG,                         SWEARINGEN IN SUPPORT OF
23                  Plaintiffs,                    PLAINTIFFS’ OPPOSITION TO
                                                   DEFENDANTS’ MOTION TO STAY
24           v.                                    PENDING APPEAL
     DONALD J. TRUMP, in his official capacity
25   as President of the United States, and        Date:    October 15, 2020
                                                   Time: 9:30 a.m.
     WILBUR ROSS, in his official capacity as
26   Secretary of Commerce,                        Crtrm.: Remote
                                                   Judge: Hon. Laurel Beeler
27                  Defendants.                    Trial Date:      None Set

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     [3626407.4]                                                     Case No. 3:20-cv-05910-LB
       DECLARATION OF VAN SWEARINGEN IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                               MOTION TO STAY PENDING APPEAL
           Case 3:20-cv-05910-LB Document 85-4 Filed 10/08/20 Page 2 of 3




 1                 1.    I am an attorney duly admitted to practice before this Court. I am a partner
 2 in the law firm of Rosen Bien Galvan & Grunfeld LLP, counsel of record for Plaintiffs. I
 3 have personal knowledge of the facts set forth herein, and if called as a witness, I could
 4 competently so testify. I make this declaration in support of Plaintiffs’ Opposition to
 5 Defendants’ Motion to Stay Pending Appeal.
 6                 2.    Attached as Exhibit A is a true and correct copy of Appendix I to
 7 Defendants’ Decision Memo, see Ex. A to Decl. of John Costello, ECF No. 76-1, which
 8 Defendants’ counsel provided to me on September 30, 2020.
 9                 I declare under penalty of perjury under the laws of the United States of America
10 that the foregoing is true and correct, and that this declaration is executed at San Francisco,
11 California this 8th day of October, 2020.
12
13                                                       /s/ Van Swearingen
                                                         Van Swearingen
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     [3626407.4]
                                             1                       Case No. 3:20-cv-05910-LB
       DECLARATION OF VAN SWEARINGEN IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                               MOTION TO STAY PENDING APPEAL
Case 3:20-cv-05910-LB Document 85-4 Filed 10/08/20 Page 3 of 3




             Exhibit A
        FILED UNDER SEAL
